                     UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF LOUISIANA

 PSARA ENERGY, LTD.                          CIVIL ACTION

 VERSUS                                      NUMBER: 18-04111

 SPACE SHIPPING, LTD.; GEDEN                 SECTION "B" (2)
 HOLDINGS LTD.; ADVANTAGE START
 SHIPPING, LLC; GENEL DENIZCILIK             JUDGE LEMELLE
 NAKLIYATI A.S. A/K/A GEDEN
                                             MAGISTRATE WILKINSON
 LINES; ADVANTAGE TANKERS, LLC;
 ADVANTAGE HOLDINGS, LLC;
 FORWARD HOLDINGS, LLC; MEHMET
 EMIN KARAMEHMET; GULSUN NAZLI
 KARAMEHMET – WILLIAMS; and
 TUĞRUL TOKGÖZ


                          NOTICE OF SUBMISSION

         PLEASE TAKE NOTICE that the Motion to Vacate filed by defendant

Advantage Start Shipping, LLC will be brought on for hearing before the

Honorable Ivan L.R. Lemelle on the 6th day of June at 9:00



                                       Respectfully submitted,

                                       PHELPS DUNBAR LLP


                                       BY:    s/ Kevin J. LaVie
                                             KEVIN J. LAVIE, T.A. (#14125)
                                             BRIAN WALLACE (#17191)
                                             Canal Place - Suite 2000
                                             365 Canal Street
                                             New Orleans, LA 70130-6534
                                             Telephone: 504-566-1311
                                             Telecopier: 504-568-9130
                                             kevin.lavie@phelps.com
                                             brian.wallace@phelps.com




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PD.23753088.1
                                                Attorneys for Defendant,
                                                      Advantage Start Shipping,
                                                      LLC


                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 14th day of May, 2018, I electronically filed

the foregoing pleading with the Clerk of Court by using the CM/ECF system

which will send a notice of electronic filing to all counsel who are CM/ECF

participants.



                                        s/ Kevin J. LaVie
                                        KEVIN J. LAVIE




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